                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

                                                         )
    In re                                                )     Chapter 7
    IAN BYRON FAWKNOTSON,                                )
      Debtor(s)                                          )     Case No. 3:21-bk-00618
                                                         )
                                                         )      BANKRUPTCY JUDGE
                                                         )     RANDAL S MASHBURN




                        REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
                   FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)
  PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for The

Bureaus, Inc. (Capital One Bank (USA), National Association), a creditor in the above-captioned chapter 7 case,

requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure (the Bankruptcy Rules)

and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (as amended,

the Bankruptcy Code), that all notices given or required to be given and all papers served or required to be served

in this case be also given to and served, whether electronically or otherwise, on:


              The Bureaus, Inc.
              c/o PRA Receivables Management, LLC
              PO Box 41021
              Norfolk, VA 23541
              Telephone: (877)885-5919
              Facsimile: (757) 351-3257
              E-mail: Claims_RMSC@PRAGroup.com


    Dated: Norfolk, Virginia
    March 14, 2021
                                                             By:/s/ Valerie Smith
                                                             Valerie Smith
                                                             c/o PRA Receivables Management, LLC
                                                             Senior Manager
                                                             PO Box 41021
                                                             Norfolk, VA 23541
                                                             (877)885-5919




    Assignee Creditor: Capital One Bank (USA), National Association




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